Case 1:01-cv-12257-PBS Document 6639-14 Filed 11/03/09 Page 1of5

EXHIBIT M
Case 1:01-cv-12257-PBS Document 6639-14 Filed 11/03/09 Page 2 of 5

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

MDL No. 1456

Master File No. 01-CV-12257-PBS

wee ee ee ee ee ee eee xX
In Re: PHARMACEUTICAL INDUSTRY )
AVERAGE WHOLESALE PRICE LITIGATION )
wae ee ee ee ee ee ee ee ee ee ee X
UNITED STATES OF AMERICA ex rel. )
VEN-A-CARE OF THE FLORIDA KEYS, )
INC., et al., )

Plaintiffs, )
Vv. )
DEY, INC., et al., (Civil Action )
No. 05-11084-PBS), )

Defendants. )
poe ee ee eee ee ee X

CAPTIONS CONTINUE ON FOLLOWING PAGES

VOLUME III

CONTINUED VIDEOTAPED DEPOSITION OF LUIS COBO

592

Cobo, Luis - Vol. III 7-31-2008

Case 1:01-cv-12257-PBS Document 6639-14 Filed 11/03/09 Page 3 of 5

trying to expand our services to our clients.
And it also helped us in the Medicaid patients
that we were servicing by being able to control -
- um, to control and ensure that patients
received at least the medications that they
needed the most in the month. I mean, Medicaid
always had limitations, and when you had patients
that were bouncing around from pharmacy to
pharmacy, it became difficult to be able to
submit drug exception requests which would allow
patients to receive additional medications. And,
as a result, there were often times when Medicaid
patients that were also receiving IV therapy
drugs, which could become quite voluminous in
quantities, found themselves in a predicament
where they were not able to get certain --
certain of their drugs because they had different
pharmacies that were servicing them.

So we took this on as an extended
service of Ven-A-Care. And from time to time, we
may have dispensed products at Ven-A-Care, may

have needed to purchase a drug product on an

627

Cobo, Luis - Vol. III 7-31-2008

Case 1:01-cv-12257-PBS Document 6639-14 Filed 11/03/09 Page 4 of 5

628

1 emergency basis because we needed to take care of
2 the patient and we may not have had the product

3 on hand. And until Ven-A-Care could order the

4 product and get it in, Cobo Pharmacy would sell

5 Ven-A-Care a, you know, a one-day/two-day supply,
6 whatever it would be, so the patient could be

7 serviced.

8 Q. And what was the -- how did you come up
9 with the price that Cobo would charge Ven-A-Care
10 in that situation?

11 A. I think we set a price at Cobo
12 Pharmacy, cost plus 10 percent.

13 Q. So what you had paid to acquire the

14 drug plus 10 percent?

15 A. Yeah. It was essentially like a

16 wholesale transaction. Cobo Pharmacy at the time
17 also maintained a wholesale license, so there

18 were times when I would service physician's

19 offices and things if they needed some emergency
20 medication or something.

21 Q. For what period of time did Cobo have
22 what you referred to as a wholesale license?

Cobo, Luis - Vol. III 7-31-2008

Case 1:01-cv-12257-PBS Document 6639-14 Filed 11/03/09 Page 5 of 5

631
Q. Did it have any other licenses?
A. Cobo Pharmacy?
Q. Right.
A. No.
Q. You said Ven-A-Care at some point

obtained the community pharmacy license;
approximately when was that?
A. I believe that the year was in '93.
Q. And does it still have a community

pharmacy license?

A. No, it does not.

Q. When did it stop having one?

A. In the early 2000's. I don't know the
specific -- the specific time frame.

Q. Did it expire or did you -- was it

terminated for some other reason?

A. I had an interaction on one of my
inspections in discussing what our situation was.
It was suggested to me that, you know, that
probably the best thing to do was just to
eliminate the community portion of the license

and just maintain -- just maintain the special

Cobo, Luis - Vol. III 7-31-2008

